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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION

MARVA DOCKERY, as Administratrix of the
Estate of Mildred Marshall,                                                                Plaintiff,

v.                                                                Civil Action No. 3:16-cv-25-DJH

GGNSC LOUISVILLE HILLCREEK, LLC, et
al.,                                                                                   Defendants.

                                             * * * * *

                                              ORDER

          The parties have filed a stipulation of dismissal with prejudice signed by all parties who

have appeared. (Docket No. 38) Accordingly, and the Court being otherwise sufficiently

advised, it is hereby

          ORDERED that this action stands DISMISSED with prejudice pursuant to Federal Rule

of Civil Procedure 41(a)(1)(A)(ii) and is STRICKEN from the Court’s active docket.

April 20, 2018




                                                            David J. Hale, Judge
                                                         United States District Court
